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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,

                   Plaintiff,            Civil Action No. 20-14167 (FLW) (DEA)

           v.
                                         Motion Day: March 15, 2021
 CHRISTOPHER NEARY, SHERMAN
 BARTON, VE SOURCE, LLC, and
 VERTICAL SOURCE, INC.,

                   Defendants.




                Plaintiff’s Brief in Opposition to the Motion to Dismiss
         Filed by Christopher Neary, Sherman Barton, and VE Source, LLC




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                           PRELIMINARY STATEMENT

      This case concerns Defendants’ scheme to defraud the United States by

wrongfully obtaining millions of dollars in government contracts. Through

materially false statements, VE Source obtained more than $16.5 million from two

government contracts intended for legitimate service-disabled, veteran-owned small

businesses (“SDVOSBs”). Though it represented itself as an SDVOSB, VE Source

was not a legitimate SDVOSB because Sherman Barton, a service-disabled veteran,

did not “control” it; he was a mere figurehead, allowing the business to be controlled

in all respects by his partner, Christopher Neary, who is not a veteran.

      Defendants’ motion to dismiss advances three core arguments. First, they

contend that the False Claims Act (“FCA”) claims should be dismissed because “VE

Source was certified . . . as an SDVOSB.” Moving Brief, ECF Doc. No. 14-1 (“Moving

Br.”) at 14. But this entire defense is self-fulfilling sophistry as it is premised on the

fact that VE Source falsely self-certified itself as an eligible SDVOSB. Put

differently, Defendants are asking this Court to declare VE Source a legitimate

SDVOSB based on their self-certifications and in direct contradiction to the

Government’s well-pleaded factual allegations that those certifications were false.

      Second, Defendants argue that the FCA claims fail because the Complaint

does not allege falsity, scienter, or materiality. With respect to falsity, the

Complaint alleges that, before VE Source successfully bid on the two contracts at

issue in this case, Defendants’ representations concerning VE Source’s SDVOSB

status were false because Barton did not control the business. With respect to

scienter, the Complaint alleges that, despite Barton’s lack of control, Defendants
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repeatedly certified VE Source as an SDVOSB even though Neary and Barton knew

that to qualify as one, Barton had to control VE Source’s management and daily

business operations. The Complaint also alleges that in 2012 and 2013, Defendants

were told three times by a federal agency that VE Source did not qualify as an

SDVOSB; Defendants ignored those findings and bid on two government contracts

that were set aside for SDVOSBs. The Complaint also sufficiently alleges the

materiality of Defendants’ false statements because VE Source’s putative status as

an SDVOSB was a precondition for the award of the contracts at issue.

          Third, Defendants’ seek to dismiss the claims for fraud, unjust enrichment,

and payment by mistake. The Court should reject these arguments because the

allegations supporting the FCA claims are also sufficient to support those claims.

Accordingly, the United States respectfully submits that the Court should deny the

motion to dismiss in its entirety.

                                     BACKGROUND

     I.         Neary, Pao, and Norton form VE Source to obtain set-aside
                contracts and recruit Barton to serve as a figurehead owner

          In 2009, Neary and one of his employees, Robert Pao, along with an

acquaintance, Ron Norton, decided to form an SDVOSB to seek government

contracts in the apparel sector. Id. ¶¶ 22-23. Neary and Pao had long careers in

the apparel industry but could not form an SDVOSB on their own because they

are not service-disabled veterans. Id. ¶ 23. To fill that void, they recruited Barton,

a serviced-disabled veteran close to retiring from the Veterans Administration

(“VA”). Id. ¶¶ 24-25. Though he lacked experience in the apparel industry, Barton


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 agreed to serve as the nominal majority owner of the company on the condition

 that he would not have an active role in managing the business. Id. ¶ 26. At the

 time, Neary, Pao, Norton and Barton knew that a service-disabled veteran needed

 to both own and control VE Source to qualify as an SDVOSB Id. ¶¶ 29-31.

           With Barton on board, Norton prepared the paperwork to incorporate the

 business. Id. ¶¶ 27-28. Barton’s 51% ownership interest was just enough to

 qualify him as the majority owner; the remaining 49% was split equally between

 Neary, Pao, and Norton. Id. ¶ 32.

     II.         VE Source co-locates with Neary’s other companies; Neary and
                 Pao take the lead in operating VE Source

           Once formed, Defendants operated VE Source out of the same office space

 that Neary rented for several of his other apparel-related companies. Id. ¶¶ 34,

 111-13. Notably, this office was located more than 60 miles from Barton’s home

 but just 6 miles from Neary’s home. Id. ¶ 113. VE Source adopted both a name

 and corporate logo similar to Vertical Source. Id. ¶ 35. VE Source also benefitted

 from labor paid for by Vertical Source. Id. ¶ 34, 36. Norton expressed his concern

 to Neary, Barton, and Pao about VE Source’s reliance on Neary’s other companies

 and unsuccessfully sought more separation between them. Id. ¶ 34.

           In the early years of VE Source’s formation, Pao and Neary were

 responsible for VE Source’s core function, namely, finding and bidding on

 government contracts. Id. ¶¶ 37-38. Pao identified government contracting

 opportunities, determined if they were worth bidding on, drafted proposals, and

 submitted them on behalf of VE Source. Id. ¶ 37. Neary was heavily involved in


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 VE Source’s day-to-day business operations, controlled the company’s books and

 records, and developed the cost analyses for the company’s contract bids. Id. ¶ 38.

     III.         Defendants falsely self-certify VE Source, or cause VE Source
                  to be falsely self-certified, as an SDVOSB

            Between 2009 and July 2012, VE Source entered annual certifications as to

 its SDVOSB status in a government database known as ORCA. Id. ¶ 20. In so

 doing, Norton and Pao certified that VE Source was a valid SDVOSB, a term that

 was defined to mean that a service-disabled veteran controlled VE Source’s “[t]he

 management and daily business operations.” Id. ¶¶ 33, 57-58.

            Beginning in January 2012, Pao certified VE Source as an SDVOSB on the

 System for Award Management (“SAM”) database, which replaced ORCA. Id. ¶¶ 20,

 59. Through 2015, Pao continued filing VE Source’s self-certifications with Neary’s

 and Barton’s knowledge and consent in SAM. Id. ¶¶ 57-62. At least once (in 2013),

 Pao, using the same e-mail he used for his Vertical Source work, made VE Source’s

 self-certification under Barton’s name, making it appear as if Barton was personally

 certifying VE Source’s SDVOSB status. Id. ¶ 60. 1 Consistent with the relevant

 regulations, the SAM certification form defined an SDVOSB to be a company in

 which the service-disabled veteran is the majority owner and controls the

 “management and daily business operations.” Id. ¶ 64. After Pao left VE Source in

 2015, Barton, for the first time, certified the company’s SDVOSB status. Id. ¶ 63.




 1    Neary also used his Vertical Source email address for VE Source work.
 Compl. ¶ 149.

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     IV.         Citing Barton’s lack of control, the VA CVE denies VE Source’s
                 application for SDVOSB status three times in 2012 and 2013

           At the same time Defendants self-certified as an SDVOSB in ORCA and

 SAM, VE Source was pursuing SDVOSB certification with the VA. Id. ¶ 42. Prior to

 2010, the VA followed a self-certification process similar to ORCA and SAM;

 beginning in 2010, however, the VA shifted to a process by which firms would be

 required to submit documentation to the VA Center for Verification and Evaluation

 (“the VA CVE”) to substantiate their SDVOSB status for purposes of bidding on VA

 contracts. Id. ¶ 44 (citing 38 C.F.R. § 74.2(a) (2010-2018)). 2 The VA’s change in

 process did not impact the self-certification process for contracts from agencies

 other than the VA (i.e., the DLA and the USDA). See id. ¶¶ 20, 56-57, 59-60.

           On or about March 2, 2012, VE Source applied to the VA CVE for SDVOSB

 verification for VA contracts. Id. ¶ 46. By letter dated May 18, 2012, the VA CVE

 denied VE Source’s application, explaining that VE Source failed to show that

 Barton controlled the company. Id. ¶¶ 47-49 (describing the contents of the VA

 CVE’s denial letter). Thereafter, VE Source twice sought reconsideration and the

 VA CVE issued two more denials—one on December 4, 2012 and the second on April

 3, 2013. Id. ¶¶ 51-55. In those denials, the VA CVE pointed to extensive evidence




 2      VA regulations in effect between 2011 and 2018 established similar criteria
 for a company to be eligible as an SDVOSB as the criteria in Small Business
 Administration (“SBA”) regulations and the Federal Acquisition Regulation,
 namely, the service-disabled veteran must be the majority owner and must control
 the management and daily business operations of the firm. Compl. ¶ 45 (citing 38
 C.F.R. § 74.1 (2011–2018) (adopting SBA regulations for purposes of setting
 SDVOSB requirements)).

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 that Barton lacked control over VE Source, including: (i) restrictions on Barton’s

 ability to freely transfer his ownership in the company or to take other unilateral

 actions on VE Source’s behalf; (ii) evidence that Barton received less compensation

 than Neary; (iii) Barton’s inexperience in the apparel industry compared to Neary’s

 and Pao’s extensive experience; (iv) VE Source’s co-location with Neary’s company,

 Vertical Source; (v) evidence indicating the Barton did not “hold[] the highest

 position in the company” and that his role was ill-defined; and (vi) other evidence of

 VE Source’s reliance on Vertical Source (i.e., VE Source and Vertical Source were in

 the same line of business, shared similar logos, and Neary and Pao performed the

 same functions for VE Source as they did for Vertical Source). Id. ¶¶ 48, 53, 55.

     V.         Just weeks after the VA CVE’s first denial letter, VE Source
                represents itself to the USDA as an SDVOSB

          Although on May 18, 2012 the VA CVE refused to verify VE Source’s

 SDVOSB status based on Barton’s lack of control, VE Source on June 15, 2012 bid

 on a USDA contract solicitation set aside for SDVOSBs. Id. ¶ 65. Pao was

 primarily responsible for finding the USDA’s solicitation and preparing the

 response, but he obtained Barton’s and Neary’s consent to submit VE Source’s

 proposal. Id. ¶ 66. Pao, Barton and Neary knew that the VA had denied VE

 Source’s application for SDVOSB verification on May 18, 2012, that the USDA’s

 June 15, 2012 solicitation was set aside for SDVOSB entities, and that Pao had

 represented to the USDA that VE Source was an SDVOSB. Id. ¶¶ 67-70.

          After the USDA contracting officer determined that VE Source had self-

 certified as an SDVOSB, the USDA awarded the contract (the “USDA Contract”)


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 to VE Source. Id. ¶ 71. Between 2012 and 2017, VE Source submitted invoices to

 USDA and USDA made 14 payments to VE Source totaling $227,470. Id. ¶ 73. The

 USDA would not have awarded the contract to VE Source, nor would it have paid

 VE Source, had it known that VE Source was not a legitimate SDVOSB. Id. ¶ 75.

    VI.         After the VA CVE issues three SDVOSB denials, VE Source
                represents itself to the DLA as an SDVOSB

          Even though the VA CVE denied VE Source’s SDVOSB application three

 times between May 18, 2012 and April 3, 2013, VE Source self-certified as an

 SDVOSB on the SAM database on April 9, 2013. Id. ¶¶ 47, 53, 55 & 60. And on

 May 14, 2014, Pao prepared and submitted a proposal on behalf of VE Source in

 response to a DLA contract solicitation set aside for SDVOSBs. Id. ¶ 80. Pao,

 Barton and Neary knew that the DLA solicitation was set aside for SDVOSBs,

 that the VA CVE had denied VE Source’s SDVOSB certification three times, and

 that there were no intervening material changes to VE Source’s managerial

 structure that would have addressed the reasons the VA CVE cited in denying VE

 Source’s application. Id. ¶¶ 80-85.

          After the DLA contracting officer determined that VE Source self-certified

 as an SDVOSB in SAM, DLA awarded the contract (the “DLA Contract”) to VE

 Source. Id. ¶ 81. Under the DLA Contract, VE Source submitted 166 invoices

 between 2015 and 2019 and was paid approximately $16.3 million. Id. ¶¶ 87-88.

 The DLA would not have awarded the contract to VE Source, nor would it have

 made payments to VE Source, had it known that VE Source was not a legitimate

 SDVOSB. Id. ¶ 89.


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     VII.         Neary continues to control VE Source after obtaining the
                  USDA and DLA Contracts

            Additional allegations in the Complaint show that Neary continued to exert

 control over VE Source once it began receiving funds under the two contracts at

 issue. For instance, even though Barton nominally owned and controlled VE

 Source, Neary received twice as much in compensation from the company. Id. ¶¶

 97-100. Neary and his wholly-owned company, Vertical Source, also took excessive

 cash transfers from VE Source which they booked as “loans,” even though the

 “loans” were interest-free, undocumented, and unsecured. Id. ¶¶ 101-10. At times,

 these “loans” resulted in VE Source’s insolvency. Id. ¶¶ 101-04, 131.

            Concerned about Barton’s ability to spend company funds, Neary had

 Barton sign an agreement that restricted Barton’s ability to make “unilateral

 decisions” for VE Source to issues involving less than $1,000. Id. ¶¶ 150-53. Neary

 signed virtually all of VE Source’s significant corporate agreements and made

 important business decisions for VE Source with little or no input or oversight

 from Barton. Id. ¶¶ 96(d), 134-49. Neary was the primary point of contact with VE

 Source’s business partners, including when disputes arose between VE Source and

 the companies that manufactured the coveralls for the DLA Contract. Id. ¶¶ 135-

 44. And in attempting to resolve a $300,000 debt that VE Source owed, Neary

 offered to have Vertical Source pay the debt. Id. ¶ 131. 3

            VE Source also relied heavily on Vertical Source staff to execute the DLA



 3     Without first obtaining Barton’s approval, Neary resolved the dispute by
 signing a promissory note on VE Source’s behalf. Compl. ¶¶ 143-44.

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 Contract. After Pao left in or about 2015, VE Source began paying Vertical Source

 to manage the day-to-day aspects of the DLA Contract. Id. ¶ 123. Under this

 arrangement, which was never reduced to writing, VE Source paid Vertical Source

 more than $350,000. Id.; see also id. ¶ 124-26 (naming Neary’s other employees

 who worked for VE Source for free). And Neary alone was empowered to make

 compensation decisions for the only employee VE Source ever hired. Id. ¶ 133.

                               STANDARD OF REVIEW

        When faced with a motion to dismiss under Rule 12(b)(6), the Court accepts

 factual allegations in the Complaint as true and evaluates whether those

 allegations “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (quotation omitted); see also Mayer v. Belichick, 605 F.3d 223,

 230 (3d Cir. 2010) (explaining that on Rule 12(b)(6) motions, courts “must accept all

 factual allegations in the complaint as true, construe the complaint in the light

 favorable to the plaintiff, and ultimately determine whether plaintiff may be

 entitled to relief under any reasonable reading of the complaint”). As set forth

 below, the Complaint plainly alleges the “who, what, when, where and how” to

 satisfy the heightened pleading standard of Fed. R. Civ. P. 9(b).

        In their motion, Defendants repeatedly rely on and assert factual allegations

 that fall outside the Complaint, such as the “Certification” by Brian O’Neill. See

 ECF No. 14-2. The Government respectfully asks the Court to disregard these

 improper assertions. See Mayer, 605 F.3d at 230 (explaining that on Rule 12(b)(6)

 motions, courts “consider only the complaint, exhibits attached to the complaint,

 matters of public record, as well as undisputedly authentic documents if the
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 complainant’s claims are based upon these documents”); Melendez v. Colorite

 Plastics Co., No. 15-1931 (SDW), 2015 U.S. Dist. LEXIS 150899, at *17 (D.N.J. Oct.

 19, 2015) (rejecting improper reliance on affidavit to dispute allegations).

                             THE FALSE CLAIMS ACT

       The FCA authorizes hefty civil penalties and treble damages for any person

 who “knowingly presents, or causes to be presented, a false or fraudulent claim for

 payment or approval” or who “knowingly makes, uses, or causes to be made or used,

 a false record or statement material to a false or fraudulent claim.” 31 U.S.C.

 § 3729(a)(1)(A-B); see also United States ex rel. Wilkins v. United Health Group, Inc.,

 659 F.3d 295, 305 (3d Cir. 2011) (discussing § 3729(a)(1)(A) claims); United States ex

 rel. Petratos v. Genentech, Inc., No. 11-3691 (SDW), 2014 U.S. Dist. LEXIS 175223,

 at *6-8 (D.N.J. Dec. 18, 2014) (discussing § 3729(a)(1)(B) claims). Conspiring to

 violate § 3729(a)(1)(A) or (a)(1)(B) constitutes a separate violation of the FCA. Id.

 § 3729(a)(1)(C).

       After the Supreme Court’s decision in United States ex rel. Marcus v. Hess,

 317 U.S. 537 (1943), courts have recognized fraud in the inducement as a viable

 theory of FCA liability. See Baycol Products Litig. v. Bayer Healthcare, 732 F.3d

 869, 876 (8th Cir. 2013); In re Plavix Marketing v. Bristol-Myers Squibb Co., 332 F.

 Supp. 3d 927, 939 (D.N.J. 2017) (citing United States v. Veneziale, 268 F.2d 504, 505

 (3d Cir. 1959)). To establish a fraudulent inducement claim for purposes of the FCA,

 a plaintiff must demonstrate that “(1) there was a knowingly false or fraudulent

 statement; (2) that the statement was material; and (3) that it caused the

 government to pay out money or to forfeit moneys due (i.e., a ‘claim’).” United States
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 ex rel. Thomas v. Siemens AG, 593 F. App’x 139, 143 (3d Cir. 2014).

           If a contract is fraudulently induced, all of the invoices submitted under that

 contract constitute false claims because the “very existence of a fraudulent contract

 taints the submission of each subsequent claim for payments thereunder.” United

 States ex rel. Miller v. Bill Harbert Int’l Constr., Inc., No. 95-1231, 2007 U.S. Dist.

 LEXIS 21854, at *9 (D.D.C. Mar. 27, 2007); see also Baycol Prods. Litig., 732 F.3d at

 876 (holding that under the fraudulent inducement theory, FCA liability attaches to

 “each and every claim submitted under [the] contract”); United States ex rel. Brown

 v. Pfizer, Inc., No. 05-6795, 2017 WL 1344365, at *2 (E.D. Pa. Apr. 12, 2017) (same).

 Even if claims for payment are not “false,” they remain actionable under the FCA

 because they derive directly from the original fraudulent inducement. See, e.g.,

 United States ex rel. Miller v. Weston Educ., Inc., 840 F.3d 494, 504 (8th Cir. 2016);

 United States ex rel. Longhi v. Lithium Power Techs., Inc., 575 F.3d 458, 468 (5th

 Cir. 2009); Veridyne Corp. v. United States, 758 F.3d 1371, 1379 (Fed. Cir. 2014);

 United States v. Wavefront LLC, No. 20-5094 (AET), 2021 U.S. Dist. LEXIS 912, at

 *13 (D.N.J. Jan. 5, 2021).

                                        ARGUMENT

      I.         Defendants’ false self-certifications as to VE Source’s SDVOSB
                 status do not immunize them from FCA liability

           Defendants’ primary argument for dismissal is their misleading contention

 that “[f]rom 2010 through 2020, VE Source was certified by the SBA as an

 SDVOSB,” and that neither the “SBA, the USDA, [n]or the DLA” challenged that

 certification. Moving Br. at 14 (emphasis added). This argument is meritless.


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       The Court should disregard Defendants’ assertion that VE Source was

 “certified by the SBA as an SDVOSB” as it attempts to rely on factual allegations

 that are outside the Complaint. The Complaint never alleges that the SBA (or any

 agency) “certified” VE Source as an SDVOSB prior to the USDA or DLA contract

 awards. 4 To the contrary, the Complaint alleges Defendants self-certified VE

 Source’s eligibility for SDVOSB contracts from 2009 through at least 2016. Compl. ¶

 20 (citing 13 C.F.R. § 125.18; 48 C.F.R. § 19.1403(b)); see also id. ¶¶ 33, 58-64, 67-

 68, 80 (alleging that between 2009 and 2016, VE Source, through Norton, Pao, or

 Barton, self-certified its SDVOSB status in ORCA and SAM). And although the VA

 CVE verified VE Source’s SDVOSB status for purposes of VA contracts in

 September 2017, that verification occurred several years after the USDA and DLA

 contracts were awarded and was predicated on Neary’s and Barton’s false

 statements. Id. ¶¶ 154-56.

       Defendants also rely on two regulations that empower agency contracting

 officers (“COs”) to challenge an SDVOSB entity’s status. Moving Br. at 14. (citing 13

 C.F.R. § 125.27 and 48 C.F.R. § 19.307(b)(1)). But these regulations have no bearing

 on whether the Complaint states a claim. And once again, Defendants improperly

 rely on matters outside of the Complaint with respect to whether the COs took or

 failed to take action. In any event, there is no information (in the Complaint or

 otherwise) to suggest that the COs knew or had reason to know of VE Source’s


 4     Defendants erroneously contend that the SBA operates the SAM database for
 contractor self-certifications. The General Services Administration (“GSA”) operates
 the website. Compl. ¶¶ 20 n.4, 33 & 59.

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 SDVOSB ineligibility. In essence, then, Defendants ask this Court to block the

 United States from asserting FCA claims that are predicated on Defendants’ false

 statements because the USDA and DLA COs did not previously detect or suspect

 Defendants’ false statements. There is no basis in law to accept this argument and,

 if accepted, it could thwart nearly any FCA prosecution premised on a fraudulent

 inducement theory. 5

       Furthermore, the Court should reject this argument because it amounts to an

 equitable estoppel defense and, assuming that is even a viable defense against a

 claim asserted by the United States, Defendants cannot point to any facts in the

 Complaint or elsewhere that could satisfy the high burden of asserting equitable

 estoppel against the government. See Ali-Bocas v. Ashcroft, 67 F. App’x 83, 88 (3d

 Cir. 2003) (explaining that “[t]he Supreme Court has never upheld equitable

 estoppel against the government,” but has suggested that “some type of ‘affirmative

 misconduct’ [by] the government, combined with the traditional elements of

 equitable estoppel” would be required); Yang v. INS, 574 F.2d 171, 175 (3d Cir.

 1978) (same).


 5     Defendants cite Heckler v. Chaney, 470 U.S. 821 (1985), to argue that an
 agency’s decision to not challenge VE Source’s SDVOSB status “is entitled to
 deference.” Moving Br. at 15. This argument is misguided. Heckler held that the
 FDA’s decision not to take enforcement action concerning the use of certain drugs in
 executions was not reviewable under the Administrative Procedure Act. Id. at 823-
 27, 832-35. Aside from the fact that Heckler is wholly inapposite because, here,
 there was no actual “decision” by the COs not to protest VE Source’s status, nothing
 in Heckler supports the notion that the United States is prohibited from enforcing
 the FCA because an agency employee, vested with discretion to act, has not done so.
 Furthermore, Heckler did not address the level of deference owed, if any, where
 agency inaction is predicated on a party’s false statements. Id. at 823-25.

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           At its core, Defendants’ argument is that VE Source is an SDVOSB because

 Defendants say it is and because they have not previously been subject to an

 enforcement action or administrative challenge. Accepting that argument would not

 only run afoul of the standard of review on a motion to dismiss, but would also

 frustrate Congressional intent behind the FCA, namely, to root out government

 fraud wherever it may be found. See Cook Cnty. v. United States ex rel. Chandler,

 538 U.S. 119, 128-29 (2003).

     II.         The Complaint adequately alleges that Defendants falsely self-
                 certified VE Source’s status as an SDVOSB

           In arguing that the Complaint fails to allege facts showing that Defendants’

 falsely certified VE Source’s SDVOSB status before the USDA and DLA awarded

 the contracts, Defendants gloss over all of the allegations establishing that VE

 Source’s SDVOSB status was, from the outset, a fiction created to allow Neary to

 obtain contracts for which he was otherwise ineligible. Moving Br. at 19-20. The

 Complaint makes clear that Barton did not come up with the idea to form VE

 Source. Neary and Pao (both with long careers in the apparel industry), along with

 Norton, decided to form an SDVOSB. See Compl. ¶¶ 22-23. They recruited Barton, a

 service-disabled veteran lacking any experience in the apparel industry who agreed

 to serve as VE Source’s nominal majority owner on the condition that he need not

 actively control the business. Id. ¶¶ 25-26. With Barton on board, Norton filed the

 paperwork to create VE Source as a legal entity. Id. ¶¶ 26-28.

           Once formed, the Complaint alleges that Neary immediately exercised control

 over the company. Rather than operate out of Barton’s home or in office space close


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 to his home, VE Source co-located with Neary’s other companies in an office more

 than 60 miles from Barton’s home, but only 6 miles from Neary’s residence. Id. ¶¶

 34, 111-13. VE Source’s name and corporate logo bear striking similarities to

 Vertical Source’s, and at least one Vertical Source employee was paid by Vertical

 Source to perform work for VE Source before the USDA and DLA contract awards.

 Id. ¶¶ 34-36. Before the contract awards, Pao and Neary were responsible for VE

 Source’s core function, namely, finding and bidding on government set-aside

 contracts and self-certifying VE Source as an SDVOSB. Id. ¶¶ 33, 37-38, 57-62.

 What is more, between May 18, 2012 and April 3, 2013, the VA CVE provided three

 detailed letters to VE Source denying VE Source’s SDVOSB application to bid on

 VA contracts based on Barton’s lack of control. Id. ¶¶ 47-55.

       The Complaint also shows that Neary continued to exert control over VE

 Source after the USDA and DLA contracts were awarded: (i) Neary received

 substantially more in compensation from VE Source as compared to Barton, id. ¶¶

 97-100; (ii) Neary (individually and by and through Vertical Source) took hundreds

 of thousands of dollars from VE Source in the form of “loans” without any written

 agreement, security, interest obligations, or defined repayment terms, id. ¶¶ 101-

 10; (iii) Neary’s company, Vertical Source, received hundreds of thousands of dollars

 from VE Source pursuant to an unwritten agreement to manage the day-to-day

 aspects of the DLA Contract, id. ¶ 123; (iv) Neary signed virtually all of the

 important corporate documents for VE Source and led substantive communications

 with VE Source’s vendors and business partners, often with little or no input from



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 Barton, id. ¶¶ 134-48; (v) Neary placed substantial limitations on Barton’s ability to

 spend VE Source’s funds, id. ¶¶ 150-53; (vi) Neary pledged VE Source’s assets

 without Barton’s knowledge or approval and also offered up Vertical Source assets

 to pay VE Source’s debts, id. ¶¶ 131, 134(g, h); and (vii) VE Source purportedly

 operated out of a carriage house on Neary’s personal residence between 2017-2019,

 benefited from the free labor of other Neary employees, and shared office equipment

 and vendors, id. ¶¶ 114-20, 124-33. 6

       In sum, the Complaint shows that VE Source was formed as part of a scheme

 to take advantage of the SDVOSB contracting program, and that Barton did not

 exercise sufficient control over the day-to-day or long-term management of VE

 Source for it to meet the standards needed to be an SDVOSB. These allegations

 show that Defendants submitted or caused to be submitted false certifications

 regarding VE Source’s SDVOSB eligibility that induced the USDA and DLA to

 award VE Source set-aside contracts. As established by the cases cited above, these

 certifications and all claims for payment resulting from the fraudulently induced

 contract awards, are actionable under the FCA. See supra at 10-11.


 6      Defendants mistakenly rely on 13 C.F.R. § 125.18(e) for the proposition that
 the Court must “disregard” allegations concerning Defendants’ post-award conduct.
 Moving Br. at 18-19. But that regulation does not relate to what evidence is
 properly considered on a motion to dismiss; rather, it ensures that an SDVOSB
 awarded a contract does not become ineligible by virtue of, for instance, the
 veteran’s death or the growth of the company as a result of the contract. Notably,
 that regulation is also conditioned on the SDVOSB having submitted “appropriate
 representations and certifications” as to its status; the Complaint here alleges that
 those certifications were false. Id. § 125.18(a). Furthermore, Defendants’ post-award
 conduct is relevant circumstantial evidence of Barton’s lack of control and Neary’s
 improper enrichment at Barton’s expense.

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    III.         The Complaint adequately alleges that, at a minimum,
                 Defendants recklessly disregarded the truth of their
                 certifications as to VE Source’s SDVOSB status

           Defendants assert two arguments attacking the “knowledge” component of

 the Government’s FCA claims. First, they argue that the Complaint does not

 sufficiently allege that Defendants knew that their self-certifications were false.

 Moving Br. at 20-22. Second, they argue that, even if the Complaint alleges

 Defendants’ knowledge, the FCA claims are barred under the “government

 knowledge inference.” Id. at 22 (citing United States ex rel. Spay v. CVS Caremark

 Corp., 875 F.3d 746, 756 (3d Cir. 2017)). Both arguments are unavailing.

                    A. The Complaint’s allegations are sufficient to meet the FCA’s
                       “knowledge” requirement

           Proving that a defendant acted “knowingly” under the FCA “require[s] no

 proof of specific intent to defraud.” 31 U.S.C. § 3729(b)(1)(B); accord CVS Caremark

 Corp., 875 F.3d at 760. Under the FCA, “knowledge” means that a person “(i) has

 actual knowledge of the information; (ii) acts in deliberate ignorance of the truth or

 falsity of the information; or (iii) acts in reckless disregard of the truth or falsity of

 the information.” 31 U.S.C. § 3729(b)(1). The FCA’s legislative history shows that

 “reckless disregard” was intended as an extension of gross negligence to apply to the

 “‘ostrich-like’” situations where a party “bur[ied] [its] head in the sand and refus[ed]

 to learn information that an individual exercising reasonable judgment would have

 reason to know” or where a defendant “‘turned a blind eye’ to the false claim.”

 Laymon v. Bombardier Transp. (Holdings) USA, Inc., No. 05-169, 2009 U.S. Dist.

 LEXIS 24403, at *38-40 (W.D. Pa. Mar. 23, 2009) (quoting S. Rep. No. 99-345 at 20-


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 21, and citing United States v. Krizek, 111 F.3d 934, 941 (D.C. Cir. 1997)). And

 under Rule 9, “knowledge . . . may be alleged generally.” Fed. R. Civ. P. 9(b).

       Contrary to Defendants’ mischaracterization that the Complaint contains

 “only one, non-conclusory allegation to establish scienter,” Moving Br. at 21-22, the

 Complaint is replete with factual allegations showing that, at a minimum,

 Defendants recklessly disregarded the truth when they repeatedly self-certified VE

 Source as an SDVOSB. Although Defendants rely on United States v. Strock, 982

 F.3d 51 (2d Cir. 2020), that case provides helpful context for assessing scienter here.

       As is the case here, Strock involved a motion to dismiss FCA claims against a

 purported SDVOSB. Id. at 56-57. In reversing the District Court’s dismissal of that

 complaint, the Second Circuit held that the Government sufficiently alleged the

 requisite scienter by pointing to “facts that constitute strong circumstantial

 evidence of conscious misbehavior or recklessness.” Id. at 66-67. Specifically, the

 Second Circuit held that the complaint met the reckless disregard standard

 because, inter alia, it alleged that the defendants recruited a service-disabled

 veteran, provided the veteran with the necessary 51% ownership, and set up e-mail

 addresses in the veteran’s name to be managed by others. Id. at 66. In addition, the

 court observed that the complaint alleged the company was set up to pursue federal

 contracting opportunities, the non-veteran defendant owned the office and leased

 office space to the alleged SDVOSB, and the SDVOSB made several questionable

 payments to the non-veteran’s other company. Id. at 66-67.

       The scienter allegations are even stronger here than they were in Strock. The



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 Complaint alleges that Neary, Pao, and Norton decided to form VE Source to obtain

 government contracts set-aside for SDVOSBs for which Neary’s other businesses

 were ineligible; only afterwards did they recruit Barton to serve as a nominal

 owner. Compl. ¶¶ 22-25. Barton agreed to participate in the scheme on the

 condition that he would not need to actively manage the company. Id. ¶ 26. When

 they formed VE Source, Barton and Neary knew that, for VE Source to qualify as an

 SDVOSB, Barton had to both own at least 51% of the business and control it. Id. ¶¶

 29-31. The Complaint also alleges that after VE Source co-located with Neary’s

 other businesses and began drawing support from Neary’s other businesses, one of

 VE Source’s owners (Norton) raised concerns with Neary and Barton about VE

 Source’s heavy reliance on Vertical Source and encouraged more separation

 between the companies. Id. ¶ 34. And each time Norton, Pao or Barton certified VE

 Source’s SDVOSB status, they affirmatively (and falsely) represented that Barton

 controlled the management and daily business operations of VE Source. Id. ¶¶ 33,

 64. On at least one such certification, on April 9, 2013, Pao certified VE Source’s

 SDOVSB status but made it falsely appear as if Barton had personally certified the

 business’s status. Id. ¶ 60.

       The Complaint also alleges that between 2012 and 2013, the VA CVE

 explained to Defendants in three detailed letters that the firm did not qualify as an

 SDVOSB because of Barton’s lack of control. Id. ¶¶ 42-55; see supra at 5-6

 (describing the substance of the VA CVE’s denial letters). VE Source received one of

 these letters just days before it represented itself to the USDA as an SDVOSB. Id.



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 ¶¶ 65-70. And VE Source received all three letters before representing itself as an

 SDVOSB to bid on the DLA Contract. Id. ¶¶ 78-84. Because Defendants were on

 notice that VE Source was ineligible as an SDVOSB before bidding on the USDA

 and DLA contracts, Defendants clearly exhibited, at a minimum, reckless disregard

 when they falsely certified VE Source’s SDVOSB status. 7

                 B. Defendants’ reliance on the “government knowledge inference” is
                    misguided because the Complaint does not allege that the DLA or
                    the USDA knew that VE Source’s self-certifications were false

       Defendants’ mistakenly assert the “government knowledge inference” to

 argue that, because the VA CVE denied VE Source’s SDVOSB applications in 2013

 and 2014, the Complaint is self-defeating on the scienter issue. Moving Br. at 22-23.

 The “government knowledge inference” can, in certain circumstances, be a defense

 to scienter allegations. It is rooted in the common-sense proposition that false

 statements to the government are not actionable if the government (i) had actual

 knowledge of the falsity from the outset and (ii) defendants were aware of the

 governmental knowledge. CVS Caremark Corp., 875 F.3d at 756 (explaining that

 the inference may be asserted “when the government, with knowledge of the facts

 underlying an allegedly false claim, authorizes a contractor to make that claim”)

 (quotations omitted)). But to properly assert this defense, Defendants must show

 that the agencies issuing the contracts (the DLA and USDA) actually knew that VE



 7      As noted above, the Complaint also includes allegations concerning conduct
 that occurred after the contract awards but that nevertheless constitutes
 circumstantial evidence of Defendants’ knowledge. For instance, Neary and Barton
 took steps to conceal the disparity in compensation paid to Neary, Compl. ¶¶ 97-
 110, and to misrepresent VE Source’s reliance on Vertical Source. Id. ¶¶ 123, 155.

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 Source’s certifications were false. See id. at 758-59 (discussing CMS’s knowledge of

 certain facts and its payment of claims notwithstanding that knowledge).

       Any contention that the DLA and the USDA contracting officers knew that

 the VA CVE denied VE Source’s application for SDVOSB status for purposes of

 seeking VA set-aside contracts would directly contradict the allegations in the

 Complaint that the DLA and USDA did not know that VE Source was ineligible as

 an SDVOSB, Compl. ¶¶ 75-77, 89-91, and, therefore, cannot be considered in

 determining the adequacy of the Complaint. Belichick, 605 F.3d at 229 (explaining

 that courts “must accept all factual allegations in the complaint as true”). Further,

 in the absence of any allegations in the Complaint suggesting the DLA or USAD

 contracting officers actually knew VE Source was ineligible as an SDVOSB, it would

 be inappropriate to consider Defendants’ extraneous and improper contentions or

 engage in an evaluation of government knowledge at a motion to dismiss stage. See

 id.; United States ex rel. Streck v. Bristol-Meyers Squibb Co., No. 13-7547, 2018 U.S.

 Dist. LEXIS 202104, at *39-42 (E.D. Pa. Nov. 29, 2019) (rejecting government

 knowledge inference on a motion to dismiss where defendants relied on matters

 outside the complaint); Smith v. Carolina Med. Ctr., 274 F. Supp. 3d 300, 319 (E.D.

 Pa. 2017) (refusing to consider defendants’ allegations of government knowledge

 that were not found in the complaint because “a district court ruling on a motion to

 dismiss may not consider matters extraneous to the pleadings”). 8 To the extent



 8     Defendants principally rely on United States ex rel. Burblaw v. Orenduff, 548
 F.3d 931 (10th Cir. 2008). But that case is distinguishable because it was decided on
 summary judgment and was based upon “undisputed” evidence that the defendants
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 Defendants assert some type of constructive knowledge argument, such an

 expansive view of “government knowledge” lacks legal precedent and could

 profoundly and unjustly constrain the United States’ ability to combat fraudulent

 conduct that spans numerous government contracts and agencies. 9

       In yet another instance of Defendants’ reliance on matters outside the

 Complaint, Defendants seek exoneration based on a supposed on-site review

 purportedly conducted by the Defense Contract Management Agency (“DCMA”) in

 2017. Moving Br. at 10-11. As discussed above, the Court should not consider these

 contentions because they are not alleged in the Complaint. Supra at 9-10. Even so,

 Defendants fail to specify what the DCMA allegedly reviewed or how that review

 relates to VE Source’s SDVOSB status when the USDA and DLA contracts were

 awarded; Defendants also fail to offer any competent evidence concerning the

 DCMA’s supposed findings, relying exclusively on inadmissible hearsay. Fed. R.

 Evid. 801, 802; Moving Br. at 10-11.


 were “completely forthcoming” in repeatedly disclosing “accurate” data to the U.S.
 Department of Education (“DoE”) that should have rendered defendants ineligible
 for status as a minority institution, that DoE certified defendants’ status
 notwithstanding these disclosures, and that a second agency “uncritically relied” on
 that certification to award certain contracts to the institution. Id. at 953-57. Here,
 by contrast, there are no allegations that (i) the USDA or the DLA knew of, or
 should have known of, the VA CVE’s denials or that (ii) the USDA or the DLA relied
 (uncritically or otherwise) the VA CVE’s decisions.
 9      Defendants point to the VA CVE’s September 2017 ver0ification of VE
 Source’s SDOVSB status for VA contracts as relevant to evaluating scienter.
 Moving Br. at 22. But Defendants fail to mention that the Complaint alleges that
 Defendants procured that verification through false statements. Compl. ¶¶ 154-56
 (alleging that Neary and Barton denied any reliance by VE Source on Vertical
 Source despite that, inter alia, Vertical Source managed the day-to-day aspects of
 the DLA Contract).

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      IV.         The Complaint adequately alleges that VE Source’s purported
                  SDVOSB status was material to the contracting officers’
                  decisions to award SDVOSB set-aside contracts

            Defendants also argue that the Complaint does not meet the Escobar

 materiality standard and consists of little more than “formulaic” and conclusory

 allegations. Moving Br. at 24-27 (citing Universal Health Servs. v. United States ex

 rel. Escobar, 136 S. Ct. 1989 (2016)). 10 Defendants’ characterization of the

 Government’s allegations is misguided.

            Courts have long held that false statements that induce a federal agency to

 award a contract or grant are material for FCA purposes. See, e.g., United States ex

 rel. Feldman v. van Gorp, 697 F.3d 78, 98-99 (2d Cir. 2012) (finding false

 statements material to grant renewals); Longhi, 575 F.3d at 471-72. Although the

 Supreme Court refined the materiality analysis in Escobar with respect to implied

 false certification claims, courts have held that this analysis does not apply to

 fraudulent inducement claims. See, e.g., Scollick ex rel. United States v. Narula, No.

 14-1339, 2020 U.S. Dist. LEXIS 208604, at *28 (D.D.C. Nov. 6, 2020) (“[W]hile a

 contractor’s undisclosed noncompliance . . . could be immaterial to the government’s

 decision to pay that contractor, see Escobar, 136 S. Ct. at 2003, a fraudulent

 statement that secures a government contract will always be material to the

 government’s decision to pay the contractor . . . .”); United States ex rel. Tutanes-



 10    Defendants also assert a government knowledge inference argument here.
 Moving Br. at 26-27. The argument fails on this point for the same reason it fails in
 the context of the knowledge element, namely, there is nothing in the Complaint (or
 in documents properly considered on a Rule 12(b)(6) motion) to show that anyone at
 the USDA or the DLA knew of, or had reason to know of, the VA CVE denials.

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 Luster v. Broker Solutions, Inc., No. 19-130, 2019 U.S. Dist. LEXIS 155163, at *25-

 26 (C.D. Cal. July 8, 2019) (“Escobar speaks only to liability on an implied false

 characterization theory and has no obvious relevance to a promissory fraud claim

 that alleges false statements during the contract process, not the claim process.”

 (quotation omitted)). 11

       Even assuming Escobar applies here, multiple courts have held that

 fraudulent statements that induce the Government to award a grant or contract

 satisfy the materiality analysis. See Strock, 982 F.3d at 65 (holding, in an SDVOSB

 fraudulent inducement case, “that two [Escobar] factors—the express nature of the

 eligibility condition and the substantiality of the defendants’ alleged

 noncompliance—weigh firmly in favor of materiality”); see also United States v.

 Luce, 873 F.3d 999, 1007, 1009 (7th Cir. 2017) (holding that the Government alleged

 materiality for FCA purposes where defendants’ false statements “were lies that

 addressed a foundational part of the Government’s mortgage insurance regime”); see

 also Miller, 840 F.3d at 503-05; Wavefront, 2021 U.S. Dist. LEXIS 912, at *21-22.

 The same result is warranted here.

       When evaluating materiality under the Escobar framework, the court “look[s]

 to the effect on the likely or actual behavior of the recipient of the alleged



 11    Applying the Escobar analysis to specific payment decisions in the context of
 a fraudulent inducement-FCA claim is also inconsistent with Congressional intent
 when it amended the FCA in 1986. See S. Rep. No. 99-345, at 9 (1986) (“[C]laims
 may be false even though the services are provided as claimed if, for example, the
 claimant is ineligible to participate in the program.”); see also id. (“[E]ach and every
 claim submitted under a contract . . . was originally obtained by means of false
 statements or other corrupt or fraudulent conduct . . . constitutes a false claim.”).
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 misrepresentation,” 136 S. Ct. at 2002 (quotation omitted), and should conduct a

 “holistic” analysis “with no one factor being necessarily dispositive.” United States

 ex rel. Gohil v. Sanofi U.S. Servs., Inc., No. 02-2964, 2020 WL 4260797, at *14 (E.D.

 Pa. July 24, 2020) (quotation omitted); accord United States ex rel. Prather v.

 Brookdale Senior Living Communities, Inc., 892 F.3d 822, 831 (6th Cir. 2018)

 (describing Escobar’s materiality requirement as “holistic”). Ultimately, Escobar’s

 materiality analysis can be distilled into four factors: “(1) whether compliance with

 a particular statute is a condition of payment, (2) whether the violation goes to the

 essence of the bargain or is minor or insubstantial, and (3) whether the government

 pays or declines to pay similar claims when it has actual knowledge that the claims

 are tainted by the same kind of violation.” Gohil, 2020 WL 4260797, at *14

 (quotations omitted).

       Here, the Complaint alleges that federal regulations specifically provide that

 companies can only obtain SDVOSB set-aside contracts if they meet the

 requirement of being owned and controlled by service-disabled veterans. Compl. ¶¶

 17-18. The Complaint also alleges that these regulations require that solicitations

 and contracts must state that “[o]ffers received from concerns that are not

 [SDVOSBs] shall not be considered” and that “[a]ny award resulting from this

 solicitation shall be made to [an SDVOSB].” Id. at ¶ 21 (citing 48 C.F.R. §§ 19.1408,

 52.219-27(c)). As alleged in the Complaint, (i) these provisions were included in the

 relevant solicitation documents, id. ¶¶ 65, 78; (ii) before awarding those contracts,

 USDA and DLA contracting officers confirmed VE Source was a certified SDVOSB,



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 id. ¶¶ 71, 81; and (iii) neither agency would have awarded the contracts, nor made

 any payments thereunder, had they known that VE Source was not a legitimate

 SDVOSB, id. ¶¶ 65, 71, 75, 78, 81, 89.

        In Strock, the court considered similar allegations in determining whether

 the complaint sufficiently addressed the Escobar materiality factor by examining

 “whether the government ‘expressly identif[ied] a provision as a condition of

 payment.’” 982 F.3d at 61 (quoting 136 S. Ct. at 2003). Noting that “materiality

 must also be assessed with regard to the government’s decision to award contracts

 to [the SDVOSB] in the first instance,” Strock found that “[b]ecause the government

 alleges that it expressly designated SDVOSB compliance a condition of contract

 eligibility, . . . this factor weighs in favor of a finding of materiality.” Id. at 62. The

 Complaint here also shows the agencies’ track record in pursuing civil and criminal

 actions against individuals and companies who defraud the SDVOSB set-aside

 programs. Id. ¶ 165; see also id. ¶ 19 (citing 15 U.S.C. §§ 657(d), 637(m)(5)(C), which

 provide that firms misrepresenting their SDVOSB status “shall be subject to” civil

 prosecution under the FCA).

        The Complaint also alleges how Congress “established a program to promote

 the award of federal contracts to SDVOSBs through procurement actions that are

 specifically limited to firms owned and controlled by service-disabled veterans.”

 Compl. ¶¶ 2,16. It goes on to explain that “[b]y diverting contracts and benefits

 intended for service-disabled veterans towards an ineligible company, Defendants

 undercut the express congressional purpose in enacting laws intended to encourage



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 the awards of federal contracts to SDVOSBs.” Id. ¶ 2. Strock looked at similar

 allegations in assessing the Escobar materiality factor that noncompliance must be

 substantial, and held that they “indicate that [defendant’s] noncompliance [with

 SDVOSB rules] was substantial from the very inception of its contracts with the

 government through their completion,” and that “[t]he substantiality factor thus

 weighs strongly in favor of materiality.” 982 F.3d at 65.

       Defendants’ attempt to distinguish Strock is unpersuasive. Their principal

 attempted distinction is that the Government allegedly knew of VE Source’s

 noncompliance but paid VE Source anyway. Moving Br. at 26-27. Just as the Second

 Circuit repeatedly held in Strock, these contentions, which find no basis in the

 Complaint, should be disregarded for purposes of deciding the instant motion. See

 982 F.3d at 63, 64, 65. To reiterate the points made above, there is no allegation in

 the Complaint that the USDA or DLA contractor officers knew that the VA CVE

 had denied the company’s SDVOSB applications on three occasions or, for that

 matter, that anyone at VA CVE knew that VE Source had obtained DLA or USDA

 set-aside contracts. In short, Defendants’ assertions concerning knowledge should

 not be considered but are in any event unavailing.

       The Complaint’s materiality allegations are neither “formulaic” nor

 conclusory, and they plainly show the importance of VE Source’s false certifications

 to the agencies’ decisions to both award the contracts and to make payments

 thereunder. The Court should, thus, reject Defendants’ arguments on this point.




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      V.         The Complaint sufficiently states facts to support common law
                 claims for fraud, unjust enrichment, and payment by mistake

           The Court should reject Defendants’ arguments to dismiss the three common

 law claims for relief. Moving Br. at 27-30. 12 The elements of the claims for fraud,

 unjust enrichment, and payment by mistake are adequately pled in the Complaint.

           Turning first to the claim for fraud, the Complaint alleges with particularity

 that Defendants knowingly misrepresented the material fact of VE Source’s

 SDVOSB status with the intention that the agency contracting officers would rely

 on those misrepresentations. See Allstate N.J. Ins. Co. v. Lajara, 222 N.J. 129, 147

 (2015); see supra at 4-8. The contracting officers reasonably relied on those

 misrepresentations. See Allstate N.J. Ins. Co., 222 N.J. at 147; see supra at 4-8. As a

 result of Defendants’ false statements, the USDA paid VE Source $227,470 and the

 DLA paid VE Source approximately $16,367,503. See Allstate N.J. Ins. Co., 222 N.J.

 at 147; Compl. ¶¶ 73, 87. These allegations suffice to state a claim for common law

 fraud. See, e.g., United States ex rel. Doe v. Heart Sol., PC, 923 F.3d 308, 318 (3d

 Cir. 2019) (affirming district court’s decision denying motion to dismiss common law

 fraud claim “for the same reasons” it denied an accompanying FCA claim); see also



 12     The Complaint asserts a seventh claim, for alter ego liability, as between VE
 Source and Vertical Source. As the Defendants here have not moved to dismiss that
 claim in their opening brief, the Government does not address it here. But we note
 that the remaining Defendant, Vertical Source, Inc., separately moved to dismiss
 only the alter ego claim. Dkt. Entry No. 12-2. In its reply brief, Vertical Source
 argued, for the first time, that it would adopt all of the arguments for dismissal
 asserted by the Defendants here. Dkt. Entry No. 17 at 2-3. To the extent the Court
 allows Vertical Source to adopt these in its reply brief, the Government respectfully
 requests that the Court apply the arguments in this opposition brief with equal
 force as against Vertical Source.
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 Wavefront LLC, 2021 U.S. Dist. LEXIS 912, at *30-31.

       The Complaint also states a claim for unjust enrichment. Defendants

 received more than $16.5 million from the USDA and the DLA to which they were

 not entitled. Plastic Surgery Ctr., P.A. v. Aetna Life Ins. Co., 967 F.3d 218, 240 (3d

 Cir. 2020) (quoting Thieme v. Aucoin-Thieme, 227 N.J. 269 (2016)); see also Compl.

 ¶¶ 73, 87. Allowing Defendants to retain those funds would be “unjust” because the

 contracts at issue were set-aside for legitimate SDVOSBs and Defendants obtained

 them only by falsely claiming that VE Source was a bona fide SDVOSB. Plastic

 Surgery Ctr., P.A., 967 F.3d at 240; see also supra at 4-8. Defendants’ argument that

 the DLA and USDA “got what their contracts required,” Moving Br. at 29, ignores

 the fact that those agencies bargained for contract performance by an SDVOSB and

 were deprived of the opportunity to award the contracts to legitimate SDVOSBs.

 See 13 C.F.R. § 125.32(a) (providing that, where a company obtains an SDVOSB set-

 aside contract by means of false representations, “there shall be a presumption of

 loss to the United States based on the total amount expended on the contract”).

       Lastly, the Court should allow the Government to pursue its claim for

 payment by mistake because the USDA and DLA “erroneously” paid VE Source

 based on VE Source’s false certifications. Heart Sol., PC, 923 F.3d at 319; see also

 United States ex rel. Monahan v. Robert Wood Johnson Univ. Hosp., No. 02-5702,

 2009 U.S. Dist. LEXIS 38898, at *26-27 (D.N.J. May 7, 2009) (“The Government by

 appropriate action can recover funds which its agents have wrongfully, erroneously,

 or illegally paid, and no statute is necessary to authorize the United States to sue in



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 such a case.” (quotations and alterations omitted)).

                                   CONCLUSION

       For the reasons set forth above, the United States respectfully submits that

 the Court should deny Defendants’ motion to dismiss in its entirety. If, however, the

 Court grants all or part of the motion, the United States respectfully requests leave

 to amend the Complaint to cure any deficiencies.

 Dated:       Newark, New Jersey
              March 1, 2021


                                               Respectfully submitted,

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